     Case 2:20-cr-00016-HYJ ECF No. 38, PageID.73 Filed 12/31/20 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                             Case No. 2:20-cr-16
v.
                                                             Hon. Hala Y. Jarbou
MANUEL MIGUEL BAEZ RODRIGUEZ,

            Defendant.
__________________________________/

                ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law. Based on this, and on the

Court’s review of all matters of record, including the audio transcript of the plea proceedings,

       IT IS ORDERED that:

1.     The Report and Recommendation of the Magistrate Judge (ECF No. 37) is approved and

       adopted as the opinion of the Court.

2.     Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charge set

       forth in Count 1 of the Indictment.

3.     The written plea agreement is hereby continued under advisement pending sentencing.

4.     Defendant shall remain on bond pending sentencing now scheduled for Wednesday, March

       31, 2021, at 10:00 A.M.



 Dated:    December 31, 2020                          /s/ Hala Y. Jarbou
                                                     HALA Y. JARBOU
                                                     UNITED STATES DISTRICT JUDGE
